
In re Foley, Johnny; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial District Court Div. A, No. 82-3368; to the Court of Appeal, Fifth Circuit, No. 03-KH-1032.
Denied. Untimely, repetitive, and not cognizable. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), *580660 So.2d 1189; cf. La.C.Cr.P. art. 980.4(D); La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
